       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 1 of 15




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                                 )
IN RE PHARMACEUTICAL                             )   MDL No.1456
INDUSTRY AVERAGE                                 )
WHOLESALE PRICE LITIGATION                       )   Master File No. 01-CV-12257-PBS
                                                 )   Subcategory No. 06-CV-11337-PBS
                                                 )
                                                 )   Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                        )
U.S. of America ex rel. Ven-A-Care               )   Magistrate Judge Marianne B. Bowler
of the Florida Keys, Inc., et al. v.             )
Boehringer Ingelheim Corporation, et al.,        )
Civil Action No. 07-10248-PBS                    )   Leave to file granted on October 21, 2009
                                                 )


  THE ROXANE DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR A
       FINDING OF SPOLIATION OF EVIDENCE AND FOR SANCTIONS

       In its response to Roxane’s motion for spoliation sanctions, the DOJ effectively concedes

that it both withheld and failed to preserve relevant evidence in this case—evidence that is the

basis for the DOJ’s attempt to inflate damages by nearly $1 billion. After Roxane’s motion for

sanctions was filed, the DOJ belatedly produced some of that withheld evidence: (1) an

incomplete subset of the Redbook compendia electronic CDs allegedly used by some of the

Medicare carriers (“DMERCs”) to classify drugs as generics or brands, and (2) a set of pricing

arrays from one DMERC along with corresponding print-outs from the same Redbook CDs that

the DMERC relied on to create its arrays during the relevant period. Incredibly, initial review of

the material on these CDs and CD print-outs, which the DOJ claims led two DMERCs to

conclude that Novaplus-label ipratropium bromide was a brand drug, reveals that these drugs

were unambiguously classified on these Redbook CDs as generics. (See Exs. A, B)

       Thus, the DOJ withheld from Roxane evidence that directly contradicts the DOJ’s

billion-dollar damages theory. And, even now, the DOJ has produced CDs from only two of the
          Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 2 of 15




four DMERCs, and the print-outs relied on to create arrays from only one DMERC, effectively

admitting that there has been spoliation of evidence with respect to the other three. Such conduct

is sanctionable. See, e.g., Silvestri v. Gen . Motors Corp., 271 F.3d 583, 590-92 (4th Cir. 2001)

(sanctioning litigant for destroying evidence after litigation became foreseeable); Zubulake v.

UBS Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y. 2003) (same); Taydus v. Cisneros, 902 F.

Supp. 288, 297 (D. Mass. 1995) (imposing sanctions for party’s withholding of relevant

documents); Blake Assocs., Inc. v. Omni Spectra, Inc., 118 F.R.D. 283, 286 (D. Mass. 1988)

(same).

          The DOJ attempts to justify its failure to preserve and produce this critical evidence

through a tortured reading of Roxane’s discovery requests and a half-hearted argument that the

evidence is “irrelevant.” These arguments are frivolous, especially in light of the DOJ’s prior

and recent productions of hard copy print-outs from the same database. These materials were

requested under any natural reading of Roxane’s discovery requests. There can be no doubt that

this evidence is not only relevant, but indeed critical to Roxane’s defenses. These Redbook CDs

are, according to the DOJ’s theory in opposing summary judgment, the very basis upon which

the DMERCs made the classification decisions on the Novaplus drugs that dramatically affect

theoretical damages.     The DOJ’s most recent production confirms that at least one of the

DMERCs relied exclusively on these CDs to create some of the pricing arrays at issue. The

DOJ’s failure to even confirm or acknowledge the existence of evidence that contradicts its

claims until after Roxane filed a sanctions motion and its summary judgment motion is

suggestive of the type of spoliation that warrants sanctions. See, e.g., Res. Trust Corp. v. S.

Union Co., Inc., 985 F.2d 196, 197 (5th Cir. 1993) (affirming district court’s grant of discovery

sanctions where documents requested were not produced until after request for sanctions);



                                                -2-
         Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 3 of 15




PepsiCo. v. Central Inv. Corp., Inc., 216 F.R.D. 418, 421 (S.D. Ohio 2002) (awarding sanctions

where party withheld documents until after request for sanctions).

         Similarly, the DOJ admits that it never bothered to obtain all of the State Medicaid claims

data from the various State Medicaid agencies.              The State Medicaid claims data was also

requested by Roxane in discovery, and is critical evidence that reveals whether the Government

overpaid providers because of Roxane’s purportedly false AWPs and WACs. (See Dkt. No.

6425, Rox. SJ Reply 20-23) The DOJ attempts to blame Roxane for the DOJ’s own failure to

produce the Medicaid data—claiming that Roxane should have directly subpoenaed the states for

the data.1 The DOJ’s position flies in the face of its obligation under Rule 26 to conduct a

reasonable search for documents within its “control” in response to a discovery request. Again,

the DOJ’s excuse falls woefully short.

                                               ARGUMENT

         The DOJ, like any other litigant, is required to follow the Federal Rules of Civil

Procedure. See United Med. Supply Co. v. United States, 77 Fed. Cl. 257, 274 (2007). And, like

any other litigant, the DOJ should be sanctioned for its noncompliance with those rules. See id.

By refusing to obtain, preserve, and produce relevant evidence within its control, the DOJ has

violated the discovery rules and engaged in sanctionable behavior.

I.       THE DOJ ADMITS IT WITHHELD RELEVANT EVIDENCE.

         A.       The DOJ Unreasonably Withheld Redbook CDs From Roxane.

         The DOJ’s response to Roxane’s motion and subsequent production of CDs from the

Redbook electronic database make clear that the DOJ has withheld crucial evidence from

Roxane. The DOJ does not dispute the following facts:

1    Without such data, the DOJ cannot meet its prima facie burden on causation. (Dkt. No. 6425, Rox. SJ Reply
     20-23)


                                                     -3-
        Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 4 of 15




    •   The durable medical equipment regional carriers (“DMERCs”) are government
        contractors that process Medicare claims for ipratropium bromide. (DOJ Opp. 3)

    •   The DOJ’s duty to preserve evidence related to the DMERCs’ processing of claims for
        ipratropium bromide reimbursement began, at minimum, in April 2000 when Ven-A-
        Care filed its complaint against Roxane. (Rox. Mot. 7)

    •   The DMERCs utilized CDs and electronic databases from the Redbook compendia in
        tandem with the printed paper volumes of the compendia, to construct their pricing arrays
        and to determine whether to classify drugs as brands or generics. The DMERCs then
        used these pricing arrays to determine the payment amount for ipratropium bromide, a
        subject drug. (Id. at 3-4)

    •   The DOJ took no steps to ensure that the DMERCs preserved these Redbook CDs or
        databases. (Id. at 5)

    •   The Adminastar DMERC representative testified that the data on the Redbook CDs was
        erased each time a new CD was loaded into the system. (Id.)

    •   Roxane served the DOJ with a discovery request seeking “all documents [including
        electronic documents and media] relating to how DMERCs or Medicare Carriers
        determined the payment amount for the Subject Drugs.” (DOJ Opp. 4, 6-7 (citing Ex. C,
        11/7/07 Rox. Doc. Reqs.) (emphasis added))

    •   Roxane never received a single Redbook CD or electronic database during fact discovery.
        Instead, Roxane received a handful of print-outs (with no discernible pattern) from
        certain Redbook CDs for certain carriers. (Rox. Mot. 5)

        Rather than respond to these facts, the DOJ finally came forward with the actual Redbook

CDs, which still existed and were in the possession of some of the DMERCs—where they have

been throughout this entire litigation.2 The DOJ claims that the material on these Redbook CDs

led the CIGNA and Palmetto DMERCs to classify Novaplus-label ipratropium bromide as a

brand product, rather than a generic: “from 1999 onwards, [the DMERCs] used quarterly CD-

ROM updates to the Red Book, on which the ‘Product Information screen’ listed products

according to their published names.” ((DOJ Rox SJ Opp. 31) But the Redbook CDs in fact also


2   Until the DOJ actually produced these Redbook CDs, Roxane had always understood the data on them to be
    irretrievable because the Adminastar DMERC had testified that each updated quarterly CD effectively erased all
    the data on the prior CDs. As can now be shown, this is not the case. There are, however, still certain CDs in
    the DOJ’s late production that are blank or otherwise inaccessible See infra. I.B.


                                                       -4-
          Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 5 of 15




contain the following “Detailed Product Information” about the Novaplus product, which

specifically identified the Novaplus product as a generic—not a brand:




          As shown above, the Redbook CD contains a “Generic (Y/N)” field for the Novaplus

drug that contains a “Y,” indicating that the product is a generic. This, of course, is consistent

with the overwhelming evidence that this product was always considered a generic product by

Roxane, and recognized as such in the marketplace. (See Dkt. No. 6200, Rox. SJ Br. 24-25; Dkt.

No. 6425, Rox. SJ Reply 11-19) Moreover, now that some of these Redbook CDs have finally

been produced, it is clear that the precise compendia databases that the DOJ claims formed the

basis for certain DMERCs’ classifications of Novaplus ipratropium bromide as a brand actually

documented the opposite. In fact, every accessible CD produced from the relevant period

identifies Novaplus ipratropium bromide as a generic.3          (Exs. A, B)     This new evidence

contravenes the DOJ’s litigation-driven theory that these products were properly classified as

brands.




3   And these CDs also list other Novaplus products, such as Bumetanide Novaplus, Cytarabine Novaplus,
    Daunorubicin Novaplus, and Leucovorin Calcium Novaplus as generic products. (Ex. D)


                                                 -5-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 6 of 15




       The DOJ’s new defense is that it did not allow this evidence to be destroyed, but merely

withheld these crucial materials from its document production. (DOJ Opp. 6-7) This is no

defense to sanctions, particularly given that these CDs contained critical material refuting the

DOJ’s claims. See Shaw Family Archives, Ltd. v. CMG Worldwide, Inc., 589 F. Supp. 2d 331,

345 (S.D.N.Y. 2008) (imposing sanctions where “[t]he withheld documents [were] clearly

relevant to [plaintiff’s summary judgment] motion, and defendants took a position in opposition

to that motion that was directly contradicted by the withheld documents.”); see also Taydus, 902

F. Supp. at 297; Blake Assocs., Inc., 118 F.R.D. at 286; PepsiCo., 216 F.R.D. at 421.

       The DOJ attempts to justify its withholding of this evidence through a strained reading of

Roxane’s document requests, arguing that the Redbook CDs and databases did not fall within

Roxane’s broad request for “all documents [including electronic documents and media] relating

to how the DMERCs set payment amounts” and by claiming that the Redbook CDs are

“irrelevant.” (DOJ Opp. 6-8) This is nonsense. First, the DOJ produced a small subset of hard

copy print-outs from these same Redbook database during the fact discovery period. (See, e.g.,

Ex. E) Accordingly, its newfound argument that these Redbook databases are now “irrelevant”

and were not responsive to Roxane’s discovery requests are contradicted by the DOJ’s prior

discovery conduct. Second, the DOJ’s litigation position is that the DMERCs used only these

Redbook CDs to construct their pricing arrays during the time period that applies to the

Novaplus drugs. Third, the relevance of the Redbook CDs is confirmed by the recent production

of print-outs from the CDs attached to one DMERC’s pricing arrays. (Ex. B) Thus, these

Redbook CDs are allegedly the very basis upon which the DMERCs formulated their pricing

arrays to “set payment amounts” and necessarily “relate to” how the DMERCs classified the

Novaplus-label ipratropium bromide product as a brand (rather than a generic). (See Dkt. No.



                                               -6-
        Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 7 of 15




6200, Rox. SJ Br. 12-25; Dkt. No. 6425, Rox. SJ Reply 11-19; Ex. F, Stone ¶ 11; Ex. G, Helton

¶ 31)

         The DOJ’s argument that Roxane did not “follow up” on its discovery request is also

specious. As an initial matter, there is no requirement that a litigant press the DOJ to fulfill its

discovery obligations. These CDs were required to be produced at the outset. Moreover,

Roxane did in fact reiterate its request for Redbook materials during the March 2008 deposition

of the CIGNA DMERC representative, and had no reason to ask yet again because the

Adminastar DMERC’s subsequent testimony established that the data on the Redbook CDs self-

destructed each quarter.4 (Rox. Mot. 5) Further, the DOJ did not amend its complaint to add the

Novaplus products until after the DMERC testimony indicated to Roxane that these Redbook

CDs did not contain accessible data—a contention the DOJ never corrected and which turns out

to have been, at best, inaccurate. As discussed directly below, the DOJ conspicuously avoids

that issue in its response. Simply, the DOJ should not be able to shirk its discovery obligations

by somehow blaming Roxane for failing to see through the DOJ’s game of “hide the ball.” See

Dziadkiewicz v. Blue Cross & Blue Shield of R.I., No. C.A. 96-275S, 2004 WL 2418308, *3

(D.R.I. Oct. 13, 2004) (“Defendant stands on the claim that Plaintiffs didn’t ask just the right

follow-up question in response to Defendant’s employees’ evasive and misleading answers . . . if

they had, of course Defendant would have produced the data dictionary. These are just the kind

of tactics that make complex litigation frustrating and time-consuming.”)




4   DMERC representative Eiler testified: “when you put a new CD in the next quarter, then you cannot go back
    and access the previous.” (Rox. Mot. 5 (citing 8/27/08 Eiler Dep 294-95) The DOJ’s representation to this
    Court in December 2008 that “[t]here [was] also no need for any ‘Medicare carrier’ to be re-deposed” only
    confirmed Roxane’s understanding that the DMERCs had no more relevant evidence to produce. (Master Dkt.
    No. 5732, Reply Br. in Supp. of Pls.’ Mot. Leave to Amend Cplt. 3).


                                                    -7-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 8 of 15




       B.       The DOJ Allowed The Destruction Of The Redbook Electronic Databases,
                Or, At A Minimum, Continues To Improperly Withhold Production.

       The DOJ’s response also effectively concedes that it failed to take adequate steps to

preserve the Redbook databases, thus allowing them to be destroyed. Either that, or the DOJ

continues to withhold Redbook CDs from production. As an initial matter, the DOJ fails to

address Roxane’s arguments regarding the DOJ’s duty to preserve evidence or failure to

implement any litigation hold until years after this lawsuit was filed, nor does the DOJ provide

evidence of any direction given to the DMERCs to preserve the databases and CDs they received

in 2001, a full year after this suit was commenced. (Rox. Mot. 5-7) As a result of the DOJ’s

failure to implement a proper litigation hold, it appears to have recovered Redbook CDs from

only two of the four DMERCs. (Ex. H, Schedule of Redbook CDs attached to 8/21/09 G.

Henderson Ltr. to E. Gortner) The DOJ has failed to produce Redbook CDs from DMERC-A

and the Adminastar DMERCs, or explain the lack of production.              Similarly, the DOJ has

produced a full set of hard copy print-outs used to formulate the pricing arrays from only one

DMERC. (Ex. B) It is unclear whether Redbook CDs and the corresponding print-outs from

these other DMERCs have been destroyed or are being improperly withheld. In any event, there

is no dispute that even at this late stage in this case, the DOJ’s production is incomplete.

       C.       The DOJ Failed To Preserve Documents From The State Medicaid
                Agencies.

       With respect to State Medicaid claims data, the DOJ does not dispute that its duty to

preserve evidence related to its Medicaid claims arose when it filed suit against Abbott and Dey.

(Rox. Mot. 7) Nor does the DOJ dispute that it failed to implement any systematic litigation

hold or inform the states of the need to preserve claims data evidence. The DOJ also concedes

that it failed to produce complete State Medicaid claims data for 31 states and any State

Medicaid data from 18 other states. Instead, the DOJ protests that it “has never undertaken any

                                                 -8-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 9 of 15




obligation to collect all available state-level Medicaid claims data” and that it had no “duty to

preserve information in the possession, custody, and control of third parties.” (DOJ Opp. 9-10)

       The DOJ is wrong on the law. As explained in Abbott’s spoliation memorandum (and

unrebutted by any authority cited by the DOJ), a party has a clear obligation to preserve or

produce responsive documents within its control. (Abbott Mot. 9); In re NTL Sec. Litig., Inc.,

244 F.R.D. 179, 195 (S.D.N.Y. 2007) (duty to preserve evidence extends to evidence a party has

“right, authority, or practical ability” to obtain from a non-party); see also Rosie D. v. Romney,

256 F. Supp. 2d 115, 118-19 (D. Mass. 2003) (holding that state Medicaid officials “controlled,”

and were required to produce, Medicaid documents held by non-defendant agencies);

Calzaturficio v. Fabiano Shoe Co., 201 F.R.D. 33, 38-39 (D. Mass. 2001) (“Control is defined

not only as possession, but as the legal right to obtain the documents requested upon demand.”

(quotation marks and citation omitted)); McKesson Corp. v. Islamic Republic of Iran, 185 F.R.D.

70, 78 (D.D.C. 1999 (holding that agency relationship establishes control over documents);

Resolution Trust Corp. v. Deloitte & Touche, 145 F.R.D. 108, 110 (D. Colo. 1992) (holding

party had “control” over documents it could obtain by statute). The DOJ acknowledges that

Medicaid is a joint federal and state program. (DOJ Rox SJ Opp. 13). And the reasons why any

State Medicaid program decided to pay a particular provider a specific amount on any of the

claims at issue here necessarily entails an examination of the actual Medicaid claims data. See

In re Average Wholesale Price Litig., 478 F. Supp. 2d 164, 180 (D. Mass. 2007) (dismissing

portion of California’s Medicaid claims because state did not establish link between alleged

wrongdoing and the state’s MAC payments, which “ceased to be based on prices [allegedly]

falsely reported by defendants”); Massachusetts v. Mylan Labs., 608 F. Supp. 2d 127, 147-48 (D.

Mass. 2008) (granting defendants’ summary judgment motion where reimbursement did not



                                               -9-
         Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 10 of 15




adhere to CMS-approved State Medicaid plan, or payment regulations). Given that the State

Medicaid agencies are joint participants in the Medicaid program with CMS, which has the

authority to obtain pertinent information from the states, State Medicaid data is clearly within the

“control” of the federal government.                 See 42 U.S.C. § 1396a(a)(6), (42), (69); see also

Calzaturficio, 201 F.R.D. at 38-39; Resolution Trust Corp., 145 F.R.D. at 110. None of the cases

cited in the DOJ’s response are to the contrary.5

          Having no response to this precedent, the DOJ ignores it and instead argues, based on a

discussion at a November 13, 2008 hearing, that this Court made a “ruling” regarding the DOJ’s

obligation to seek Medicaid data from the states: “Implicit in the Court’s ruling was the

recognition that the United States had no obligation to produce state-level data that the United

States did not possess.” (DOJ Opp. at 10) Again, the DOJ is wrong. Far from “ruling” that the

DOJ did not need to produce state claims data, this Court instructed DOJ counsel: “You should

have produced it.” (Ex. I, 11/13/08 H’rg Tr. at 34) At the same hearing, this Court also noted

about the DOJ’s failure to collect the claims data: “If they don’t have it, they don’t have it, which

means they may lose on those claims because I can’t create something out of nothing.” (Id. at

35)




5     In fact, the cases the DOJ cites are completely inapposite to the factual situation here: they do not involve the
      government or a governmental agency with access to data that could be readily requested by statute. See
      Townsend v. Amer. Insulated Panel Co., 174 F.R.D. 1, 5 (D. Mass. 1997) (holding that plaintiff restaurant
      manager had no obligation to prevent the loss or destruction of a walk-in freezer that was owned by her
      employer, the restaurant, and sold three years after she was injured when the restaurant vacated the premises);
      Friends for All Children, Inc. v. Lockheed Aircraft Corp., 587 F. Supp. 180, 189 (D.D.C. 1984) (holding that
      defendant Lockheed Aircraft Corporation had no ability to preserve or produce crash investigation photographs
      taken and maintained by the Air Force). Further, the DOJ’s argument that it only had a duty to preserve
      documents when it had “knowledge or warning of [their] destruction” is at odds with caselaw stating, without
      such a limitation, that a litigant has a duty to preserve foreseeably relevant evidence. (DOJ Opp. 11 n.8);
      Zubulake, 220 F.R.D. at 216.


                                                         -10-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 11 of 15




II.     ROXANE HAS BEEN PREJUDICED BY THE DOJ’S SPOLIATION.

        The DOJ’s argument that Roxane was not prejudiced by the DOJ’s failure to produce the

Redbook databases is wrong. Roxane was entitled to obtain full discovery on these Redbook

CDs across all four DMERCS. It could not do so because all the evidence has not been

produced—even as of today. By withholding these CDs until now, the DOJ deprived Roxane of

any opportunity to cross-examine certain DMERCs or the DOJ’s experts with this information,

and also prevented Roxane from incorporating this evidence into its summary judgment briefing

currently before the Court. Roxane’s prejudice is only heightened by the fact that the DOJ is

relying on the DMERCs’ use of these Redbook CDs to fabricate astronomical damages of over

$1 billion.

        Rather than address these issues of prejudice, the DOJ instead argues that this data is

purportedly “irrelevant” given that the DMERCs’ classification of Novaplus ipratropium

bromide was “correct.” (DOJ Opp. 7-8) As discussed above, the general argument that this

evidence is “irrelevant” is flatly contradicted by the DOJ’s own litigation-driven declarations and

the Redbook CDs themselves. The DOJ’s more-specific argument that this evidence is rendered

“irrelevant” because three of the four DMERCs were “correct” in classifying Novaplus as a

brand is based on nothing more than the DOJ’s ipse dixit statements —the entire record evidence

is to the contrary, including the fact that the DMERCs did not consistently classify Novaplus

products as brands, much less get the classification correct. (Dkt. No. 6425, Rox. SJ Reply 11-

17) Indeed, the very Redbook CDs that the DOJ withheld demonstrate the DMERCs’ errors

because these CDs classify the products as generics. (Exs. A, B)

        In any event, the DOJ’s argument that the evidence is “irrelevant” ignores the

fundamental tenet of the adversary system that allows Roxane to test the DOJ’s assertions of

fact. The DOJ’s position allows it to be the sole arbiter of whether evidence is “relevant” or not,

                                               -11-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 12 of 15




depending on its own assessment of the ultimate merits of its claim. This, of course, is not the

law.

       With respect to the State Medicaid claims data, Roxane is prejudiced if the DOJ is

allowed to proceed on claims for which it has not produced the actual State Medicaid claims

data. In fact, the DOJ admits that SMRF/MAX/MSIS data it relies upon to establish both

liability and damages does not reflect whether reimbursement was actually paid based on

Roxane’s AWPs or WACs, or whether Roxane’s AWPs or WACs were even incorporated into a

claim. (Rox. Mot. 8; Dkt. No. 6425, Rox. SJ Reply 20-23) The DOJ admits that: “the datasets

contained in the SMRF/MAX/MSIS data do not contain the data required to calculate the basis

of payment for a claim” and the SDUD data is aggregated data, which likewise can never reveal

the basis of payment on any claim. (US Rox. 56.1 Resp. ¶ 267-68)

       Thus, despite the DOJ’s protestations, the State Medicaid data does not merely affect

calculation of damages; this data speaks directly to the issue of liability. In short, the DOJ

cannot prove a false claim without proving that payment was made based on Roxane’s AWPs or

WACs, and only State Medicaid data can reveal whether that occurred. (Dkt. No. 6425, Rox. SJ

Reply 20-23) Thus, to the extent that the DOJ is allowed to use the CMS data (i.e., the

SMRF/MAX/MSIS/SDUD data) to circumvent this critical predicate inquiry, Roxane is

prejudiced.

III.   SANCTIONS ARE WARRANTED.

       Assuming this Court enters a finding of spoliation on either of these issues, sanctions are

warranted.    The DOJ effectively concedes that it never recovered, retained, or produced

documents within its control and never conducted a fulsome search for pertinent materials as

soon as litigation against Roxane became foreseeable. Such conduct is sanctionable. See, e.g.,

Testa v. Wal-Mart Stores, Inc., 144 F.3d 173, 177 (1st Cir. 1998); Blinzler v. Marriott Int’l, Inc.,

                                               -12-
       Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 13 of 15




81 F.3d 1148, 1159 (1st Cir. 1996). Worse yet, by refusing to ask its contractors or the states for

pertinent requested evidence until the eleventh hour, the DOJ withheld critical evidence from

Roxane until after it filed its motion for summary judgment. See First Bank of Marietta v.

Hartford Underwriters Ins. Co., 307 F.3d 501, 518 (6th Cir. 2002) (no abuse of discretion to

sanction party for withholding material evidence); Daval Steel Prods v. M/V Fakredine, 951 F2d

1357, 1365 (2d Cir. 1991) (imposing sanctions for a party’s failure to disclose “facts essential to

an adjudication on the merits, severe sanctions are appropriate.”). Only now, after Roxane filed

its motion for sanctions, did the DOJ finally produce a portion of this evidence, revealing for the

first time the magnitude of the information it has withheld in this case. Such conduct is

sanctionable.

                                        CONCLUSION

       For all the foregoing reasons and the reasons stated in the Roxane’s Motion for Spoliation

Sanctions, the Court should grant the Roxane Defendants’ Motion for A Finding of Spoliation of

Evidence and for Sanctions.




                                               -13-
      Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 14 of 15




Dated: October 16, 2009                Respectfully submitted,


                                       /s/ Eric T. Gortner
                                       Helen E. Witt, P.C.
                                       Anne M. Sidrys, P.C.
                                       Eric T. Gortner
                                       John W. Reale
                                       KIRKLAND & ELLIS LLP
                                       300 North LaSalle Street
                                       Chicago, IL 60654
                                       Telephone:     (312) 862-2000
                                       Facsimile:     (312) 862-2200
                                       Counsel for Defendants
                                       Boehringer Ingelheim Corp.,
                                       Boehringer Ingelheim Pharmaceuticals, Inc.,
                                       Boehringer Ingelheim Roxane, Inc., and
                                       Roxane Laboratories, Inc.




                                    -14-
        Case 1:01-cv-12257-PBS Document 6605 Filed 10/21/09 Page 15 of 15




                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by

sending on October 16 2009, a copy to LexisNexis File and Serve for posting and notification to

all parties.


                                                        /s/ Eric T. Gortner
                                                                Eric T. Gortner
